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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

TANYA RUTNER HARTMAN, and                        :
GILDED SOCIAL,                                   :
                                                 :
               Plaintiffs,                       : Case No. 2:20-CV-1952
                                                 :
       v.                                        : Chief Judge Algenon L. Marbley
                                                 :
AMY ACTON,                                       :
In her official capacity as Director of the Ohio :
Department of Health,                            : Magistrate Judge Jolson
                                                 :
                Defendant.                       :

                                             ORDER

       This matter is before the Court on Plaintiffs’ Motion for a Temporary Restraining Order

(“TRO”). (ECF No. 2). On April 17, 2020, Defendant filed a response requesting that this Court

deny Plaintiffs’ motion. This Court held a hearing on the motion for a TRO on April 20, 2020 at

10:00 a.m. For the reasons set forth below, this Court DENIES Plaintiffs’ Motion for a temporary

restraining order.

                                     I.     BACKGROUND

       Tanya Hartman owns and operates Gilded Social, an Ohio bridal shop located in Columbus,

Ohio (collectively, “Plaintiffs”). (ECF No. 1 at 2). Business was as usual until March 2020 when

Ohio officials confirmed the spread of the novel coronavirus (“COVID-19”) within the state of

Ohio. (ECF No. 4 at 8-10). On March 22, 2020, the Director of the Ohio Department of Health,

Dr. Amy Acton, issued a Stay at Home Order requiring that all “non-essential businesses and

operations must cease” until April 6 due to the exponential spread of the virus throughout the state.

(Id). Dr. Acton issued several other orders to limit the spread of the virus, and the relevant order

at issue here is the amended Stay at Home Order issued on April 2, 2020 extending the cessation
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of all non-essential business until May 1, 2020 (hereinafter “Order”). This order enumerates and

defines the categories of businesses that are considered essential, but bridal shops are excluded

from those businesses considered essential. (Id.)

       Accordingly, Ms. Hartman was required to close Gilded Social’s doors and operate the

business exclusively online. (ECF No. 4 at 12). Ms. Hartman now brings suit pursuant to 42 U.S.C.

§ 1983, against Dr. Acton, in her official capacity as Director, and on behalf of Gilded Social and

a “class of Ohio businesses not previously subject to Ohio Department of Health regulation and

licensing.” (ECF No. 1, 2). Plaintiffs argue that the Stay at Home Order is unconstitutional on its

face and as applied since it fails to provide a meaningful redress mechanism in violation of the

procedural due process requirements of the Fifth and Fourteenth Amendments. Id. Hartman also

argues that the Director’s Order is impermissibly vague, and the statute authorizing the Director

to make it is an unconstitutional delegation of legislative power, in violation of the U.S. and Ohio

Constitutions. (ECF No. 1 at 7-8). Hartman believes that the state is unable to prove that a wedding

dress shop is both non-essential and not capable of being operated in a safe manner. (ECF No. 2

at 3). Hartman requests that this court issue a temporary restraining order—as well as a preliminary

and permanent injunction—prohibiting Defendant from enforcing against Plaintiffs and a class of

similarly situated businesses the requirement that all “non-essential” businesses cease in person

operations. (ECF No. 1). Plaintiffs also request monetary damages and their costs incurred in

bringing the action, including attorneys’ fees. (Id.)

                                II.    STANDARD OF REVIEW

       A Temporary Restraining Order (“TRO”) is an emergency measure. See McGirr v. Rehme,

Case No. 16-464, 2017 U.S. Dist. LEXIS 61151, at *10 (S.D. Ohio Apr. 21, 2017). Federal Rule

of Civil Procedure 65(b) requires a Court to examine, on application for a temporary restraining



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order, whether “specific facts in an affidavit or a verified complaint clearly show that immediate

and irreparable injury, loss, or damage will result to the movant.” Fed. R. Civ. P. 65(b)(1)(A). A

temporary restraining order is meant “to prevent immediate and irreparable harm to the

complaining party during the period necessary to conduct a hearing on a preliminary injunction.”

Dow Chemical Co. v. Blum, 469 F. Supp. 892, 901 (E.D. Mich. 1979). In determining whether to

grant or deny a temporary restraining order or a preliminary injunction, courts consider four

factors: “(1) whether the movant has a strong likelihood of success on the merits; (2) whether the

movant would suffer irreparable injury without the injunction; (3) whether issuance of the

injunction would cause substantial harm to others; and (4) whether the public interest would be

served by issuance of the injunction.” City of Pontiac Retired Emps. Ass'n v. Schimmel, 751 F.3d

427, 430 (6th Cir. 2014) (per curiam) (en banc) (internal quotation marks omitted).

       To obtain temporary injunctive relief, it is of paramount importance that the party establish

immediacy and irreparability of injury. See Doe v. Univ. of Cincinnati, No. 1:15-CV-600, 2015

WL 5729328, at *1 (S.D. Ohio Sept. 30, 2015) (noting that “standard for issuing a temporary

restraining order is logically the same as for a preliminary injunction with emphasis, however, on

irreparable harm given that the purpose of a temporary restraining order is to maintain the status

quo”) (citing Motor Vehicle Bd. of Calif. v. Fox, 434 U.S. 1345, 1347 n.2 (1977)). While a Court

is permitted to consider the other factors, immediacy and irreparability of harm are threshold

considerations since a temporary restraining order is an extraordinary remedy whose purpose is to

preserve the status quo.” Marshall v. Ohio Univ., No. 2:15-CV-775, 2015 WL 1179955, at *4

(S.D. Ohio Mar. 13, 2015) (citing Proctor & Gamble Co. v. Bankers Trust Co., 78 F.3d 219, 226

(6th Cir.1996)). The “burden of proving that the circumstances ‘clearly demand’ such an

extraordinary remedy is a heavy one” since the party seeking “the injunction must establish its



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case by clear and convincing evidence.’” Id. (citing Overstreet v. Lexington–Fayette UrbanCnty.

Gov't, 305 F.3d 566, 573 (6th Cir.2002); Honeywell, Inc. v. Brewer–Garrett Co., 145 F.3d 1331

(6th Cir.1998)).

                                         III.    ANALYSIS

                                           A.      Standing

        Defendant argues that Plaintiffs lack standing to bring this suit on behalf of a “class of Ohio

businesses not previously subject” to regulation by the Ohio Department of Health because those

businesses are unrelated third parties. (ECF No. 4 at 19). Plaintiffs bear the burden of

demonstrating that they have standing. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)

(noting that the “party invoking federal jurisdiction bears the burden of establishing these

elements”). As a general matter, federal courts adhere to a prudential standing rule that “bars

litigants from asserting the rights or legal interests of others in order to obtain relief from injury to

themselves.” Warth v. Seldin, 422 U.S. 490, 491 (1975). There are limited exceptions to this rule,

where “the party asserting the right has a ‘close’ relationship with the person who possesses the

right, and … there is a ‘hindrance’ to the possessor's ability to protect his own interests.” Smith v.

Jefferson Cty. Bd. of Sch. Comm'rs, 641 F.3d 197, 208 (6th Cir. 2011) (quoting Kowalski v.

Tesmer, 543 U.S. 125, 130 (2004)) (internal quotation marks omitted). During the hearing,

Plaintiffs conceded that they are bringing this solely in an individual capacity. Nonetheless, this

Court will address the issue of standing below.

        Here, Plaintiffs fail to meet this standard since Plaintiffs have failed to demonstrate that

they have a close relationship with any of the other businesses they seek to represent. See Kowalski

v. Tesmer, 543 U.S. 125, 131 (2004) (attorneys did not have standing to bring suit on behalf of

prospective clients who are not ascertained since they had “no relationship at all” with them). Here,



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too Plaintiffs have not demonstrated that they have any relationship at all with similarly situated

and yet unascertained businesses, let alone the “close” relationship necessary to ensure that the

litigant represents the rights of others with the “necessary zeal and appropriate presentation.” Id.

at 129. Plaintiffs have also failed to carry their burden of demonstrating that similarly situated

businesses could not bring their own suits to challenge any alleged violations of their rights. Id.

       Furthermore, because this Court determines that Plaintiffs have failed even to demonstrate

a cognizable injury to themselves, they may not bring claims on behalf of a class of hypothetical

business owners affected by the Director’s Order, since “whatever injury may have been suffered

is peculiar to the individual [business owner] concerned, thus requiring individualized proof of

both the fact and extent of injury and individual awards.” Warth, 422 U.S. at 492.

                                        B.     Jurisdiction

       In their briefing, Plaintiffs suggest that the Health Director’s Stay at Home Order arises

from an unconstitutional delegation of authority. Alternatively, Plaintiffs argue that even if such

delegation was permissible, the Director failed to comply with the notice, comment, and hearing

requirements set forth in Ohio Revised Code § 119, which governs administrative procedures. Due

to these deficiencies, Plaintiffs maintain that the Director’s Order warrants zero deference. During

the hearing, Plaintiffs conceded these claims, noting that they are only pursuing their procedural

due process claims pursuant to federal law. Nonetheless, this Court will address this issue.

       Article II, Section 1 of the Ohio Constitution vests the state’s legislative authority in the

General Assembly, consisting of the Senate and House of Representatives. The Ohio Supreme

Court has made clear that the General Assembly “cannot delegate its legislative power and that

any attempt to do so is unconstitutional.” Belden v. Un. Cent. Life Ins. Co., 143 Ohio St. 329, 342

(1944). Nevertheless, “legislative acts granting to a board or an administrative agency quasi-



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legislative or quasi-judicial power, have been uniformly sustained where the General Assembly

has laid down the policy and established the standards while leaving to an administrative agency

the making of subordinate rules within prescribed limits and the determination of facts to which

the legislative policy is to apply.” Id. Importantly, the need for strict standards and guidelines is

relaxed when the delegation relates to matters of public health and safety:

       As a general rule a law which confers discretion on an executive officer or board without
       establishing any standards for guidance is a delegation of legislative power and
       unconstitutional; but, when the discretion to be exercised relates to a police regulation for
       the protection of the public morals, health, safety, or general welfare, and it is impossible
       or impracticable to provide such standards, and to do so would defeat the legislative object
       sought to be accomplished, legislation conferring such discretion may be valid and
       constitutional without such restrictions and limitations.

State v. Schreckengost, 30 Ohio St. 2d 30, 32-33 (1972).

       Under Ohio Revised Code § 3701.13, the Ohio Department of Health has been given

authority over the “supervision of all matters relating to the preservation of the life and health of

the people” and has “ultimate authority in matters of quarantine and isolation.” O.R.C. § 3701.13.

To that end, the Department of Health has the power to “make special or standing orders . . . for

preventing the spread of contagious or infectious diseases[.]” Id. It was under this authority that

Health Director Acton issued the Department’s April 2, 2020 Stay at Home Order.

       While Plaintiffs take issue with the General Assembly’s delegation of power to the

Department of Health, Plaintiffs seek relief in the wrong forum. This Court has previously found

that “there is no independent federal constitutional doctrine of excessive delegation of state

legislative power.” Wayne Watson Enters., LLC v. City of Cambridge, 243 F. Supp. 3d 908,

927 (S.D. Ohio 2017) (Marbley, J.) (quoting United Beverage Co., Inc. v. Ind. Alcoholic Beverage

Comm’n, 760 F.2d 155, 157, 159 (7th Cir. 1985)). In other words, the Constitution does not

“place[] any general restraint on the delegation of state power to administrators or generally

require[] state power to be delegated according to well defined standards.” Id. (quoting Geo-Tech
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reclamation Servs., Inc. v. Hamrick, 886 F.2d 662, 666 n.2 (4th Cir. 1989)). Because Plaintiffs

raise a claim against a state official, under state law, that would impact the state itself, any non-

delegation claim is barred by Eleventh Amendment Sovereign Immunity. Pennhurst State Sch. &

Hosp. v. Halderman, 465 U.S. 89, 117 (1984) (“[A] federal suit against state officials on the basis

of state law contravenes the Eleventh Amendment when -- as here -- the relief sought and ordered

has an impact on the State itself.”). Similarly, to the extent Plaintiffs seek to invalidate the

Director’s Order for a failure to follow the administrative procedures set forth in O.R.C. § 119,

Plaintiffs raise an issue of state law.1

                                             C.      Merits

                                   1.       Irreparability of Harm

         The first factor the Court must consider is the irreparability of harm that the Plaintiffs

would face absent injunctive relief. Plaintiffs raise two harms stemming from the Health Director’s

Order: (1) the deprivation of the constitutional right to due process; and (2) the “untenable

decimation” of their business. (ECF No. 2 at 16). Generally, harm is not irreparable if it is fully

compensable by money damages. Basicomputer Corp. v. Scott, 973 F.2d 507, 511 (6th Cir. 1992).

The Supreme Court, however, has suggested that the threat of bankruptcy can meet the standard

for granting interim relief. See Doran v. Salem Inn, Inc., 422 U.S. 922, 932 (1975).

         Here, Plaintiffs have failed to meet their burden of providing evidence that bankruptcy or

permanent closure is imminent. Their motion for a temporary restraining order focuses solely on

the irreparable harm they face as a result of the violation of their constitutional rights. Their



1
  See O.R.C. § 119.02 (“Every agency authorized by law to adopt, amend, or rescind rules shall comply
with the procedure prescribed in sections 119.01 to 119.13, inclusive, of the Revised Code, for the
adoption, amendment, or rescission of rules. Unless otherwise specifically provided by law, the failure of
any agency to comply with such procedure shall invalidate any rule or amendment adopted, or the
rescission of any rule.”).

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complaint relies only on a bare allegation of “bankruptcy or closure” without any specifics as to

the financial state of their business nor any affidavits to support these claims. Accordingly, the

threat of bankruptcy is speculative at best and a finding of irreparable harm with no evidence in

the record to support it would be inappropriate. C.f. Performance Unlimited, Inc. v. Questar

Publishers, Inc., 52 F.3d 1373, 1382 (6th Cir. 1995) (affirming grant of preliminary injunction

noting that irreparable harm was established where there was uncontested evidence in the record

that “in the absence of injunctive relief … [plaintiff] will be unable to operate its business and the

business will suffer economic collapse or insolvency.”).

       Furthermore, where irreparable harm is based upon a violation of a plaintiff’s constitutional

rights, that violation, no matter how temporary, is sufficient to show irreparable harm. See

Overstreet v. Lexington-Fayette Urban Cty. Gov., 305 F.3d 566, 578 (6th Cir. 2002); Planned

Parenthood Southwest Ohio Region v. Hodges, 138 F.Supp.3d 948, 960 (S.D. Ohio 2015)

(“[W]hen a constitutional right is being threatened or impaired, a finding of irreparable harm is

mandated.”)

       As indicated below in Section C (3)(b), however, Plaintiffs have failed to demonstrate a

violation of their due process rights, and consequently, a likelihood of success on the merits. Where

a Plaintiff fails to show a likelihood of success on the merits of their claim that their constitutional

rights were violated, a finding of irreparable harm is not warranted. See McNeilly v. Land, 684

F.3d 611, 621 (6th Cir. 2012) (affirming denial of preliminary injunction noting that because

plaintiff “does not have a likelihood of success on the merits . . . his argument that he is irreparably

harmed by the deprivation of his First Amendment rights also fails.”); Overstreet, 305 F.3d at 578

(6th Cir. 2002) (denying injunctive relief noting that plaintiff’s “argument that he is entitled to a

presumption of irreparable harm based on the alleged constitutional violation is without merit”



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since he failed to show a likelihood of success on the merits); Kendall Holdings, Ltd. v. Eden

Cryogenics LLC, 630 F. Supp. 2d 853, 867 (S.D. Ohio 2008) (denying TRO noting “[p]laintiff has

not established a strong likelihood of success on the merits of its misappropriation of trade secrets

claim. Because it has not been shown that Defendants misappropriated Plaintiff's trade secrets,

irreparable harm cannot be presumed.”).

                                   2.      Immediacy of Harm

       In conjunction with the potential of irreparable harm absent injunctive relief, the Court

must also consider the immediacy of the harm Plaintiffs face. Fed. R. Civ. P. 65 (b)(1)(A); Bunn

Enterprises, Inc. v. Ohio Operating Engineers Fringe Benefit Programs, No. 2:13-CV-357, 2013

WL 12368588, at *2 (S.D. Ohio Apr. 25, 2013) (denying in part TRO on basis that plaintiff failed

to establish immediate harm where preliminary injunction hearing would occur prior to date that

alleged harm would come to pass).

       Plaintiffs argue that if they are not permitted to reopen their business on or before May 1,

2020, their business will fail. (ECF No. 1 at 12). Plaintiffs add that as a result of the Stay at Home

Order their business has been closed for 23 days at the time they filed the motion for a temporary

restraining order. (ECF No. 2 at 3). Plaintiffs do not provide any reason why waiting an additional

two weeks to re-open will necessarily result in permanent closure to their business. Accordingly,

Plaintiffs fail to show that the immediacy of the harm they allege.

                           3.      Likelihood of Success on the Merits

       This factor weighs against a grant of injunctive relief. This Court determines that Plaintiffs

have not shown a likelihood of success on the merits since the Director’s Order is: (a) sufficiently

clear and provides fair warning of what conduct is proscribed; and (b) is also a generally applicable

order which does not trigger procedural due process’s hearing requirement.



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                                     a.      Void for Vagueness

         In their briefing, Plaintiffs argue that the Order is void for vagueness under the due process

clause of the Fifth and Fourteenth Amendments and the Ohio constitution. Plaintiffs appeared to

concede this claim during the hearing, but this Court will address the issue of the vagueness of the

Director’s Order nonetheless. For the reasons set forth below, this Court finds Plaintiffs unlikely

to succeed on the merits of this claim, and any alleged irreparable harm from the Department’s

Order is not a result of the Order’s vagueness.

         The Director’s Order criminalizes violations with 90 days in jail and a fine of not more

than $750. (ECF No. 2 at 2). A criminal law violates due process when “it fails to give ordinary

people fair notice of the conduct it punishes, or so standardless that it invites arbitrary

enforcement.” Johnson v. United States, 135 S. Ct. 2551, 2556 (2015). The statute or regulation

must: (1) “give the person of ordinary intelligence a reasonable opportunity know what is

prohibited”; (2) “provide explicit standards for those who enforce them” to prevent “arbitrary and

discriminatory enforcement”; and (3) not impinge upon first amendment rights. Grayned v. City

of Rockford, 408 U.S. 104, 108-09 (1972); State v. Varsel, 11 N.E.3d 327, 330 (Ohio Ct. App.

2014).

         Plaintiffs argue the Order is unconstitutionally vague because it “provides no definition of

‘essentiality.’” (ECF No. 1 ¶ 44). Plaintiffs have not alleged that the Order is being enforced in an

arbitrary, capricious, or discriminatory manner. Rather, they allege in generalities that the order

has the potential for arbitrary enforcement because the Order “fails to supply enforcement

authorities with sufficient clarity as to how to consistently enforce the Director’s regulations.”

(ECF No. 1 ¶ 45).




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        The Department of Health’s Stay at Home Order is not unconstitutionally vague because

it provides clear and fair warning of what conduct is proscribed. State officials have authority to

enforce the Order pursuant to Ohio Rev. Code §§ 3701.352 and 3701.56.2 Plaintiffs have not

sufficiently alleged that they did not have adequate notice of the proscribed conduct or that there

is a risk of arbitrary, capricious, or discriminatory enforcement. The Order makes clear that all

businesses, except essential businesses as defined in the Order, must cease during the applicable

time period. (ECF No. 1 Ex. 1 at 1). The Order provides a complete list of all businesses deemed

essential. These include healthcare and public health operations, human services operations,

essential infrastructure, essential government functions, and the following:

         (a) workers identified in the Cybersecurity & Infrastructure Security Agency (“CISA”)
        list; (b) stores that sell groceries and medicine; (c) food, beverage, and licensed marijuana
        production and agriculture; (d) charitable organizations that provide charitable and social
        services; (e) religious entities; (f) media; (g) first amendment protected speech; (h) gas
        stations and transportation businesses; (i) financial and insurance institutions; (j) hardware
        and supply stores; (k) critical trades; (l) post offices and delivery services; (m) educational
        institutions; (n) laundry services; (o) restaurants providing delivery or carry-out; (p)
        businesses selling work-from-home supplies; (q) supplies for essential businesses and
        operations; (r) transportation; (s) home-based care and services; (t) residential facilities and
        shelters; (u) professional services; (v) manufacturing companies for essential services; (w)
        labor unions; (x) hotels and motels; (y) funeral services.

(Id. at 5-8). The Order provides detailed definitions for each of these categories and makes clear

that business operations that do not fall under these categories are prohibited. Plaintiffs had clear

notice that their wedding dress business fell into the proscribed category of non-essential business

operations. The crux of their argument is not that the Order is vague or unclear as to whether their



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  Section 3701.352 provides: “[n]o person shall violate any rule the director of health or department of
health adopts or any order the director or department of health issues under this chapter to prevent a threat
to the public caused by a pandemic, epidemic, or bioterrorism event.” Section 3701.56 provides:
“[b]oards of health of a general or city health district, health authorities and officials, officers of state
institutions, police officers, sheriffs, constables, and other officers and employees of the state or any
county, city, or township, shall enforce quarantine and isolation orders, and the rules the department of
health adopts.”

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business is essential, but that they were not provided adequate procedures to challenge the

determination that their business is non-essential. Therefore, the Court will focus its TRO analysis

on Plaintiffs’ procedural due process claim.

                                  b.     Procedural Due Process

       The Supreme Court has long recognized the power of states to “to enact quarantine laws

and health laws of every description” pursuant to their police power. Jacobson v. Commonwealth

of Massachusetts, 197 U.S. 11, 25 (1905) (upholding constitutionality of state law mandating

vaccination of all adults and noting “that the state may invest local bodies called into existence for

purposes of local administration with authority in some appropriate way to safeguard the public

health and the public safety”). In Jacobson, the Supreme Court reiterated the fundamental principle

that “persons and property are subjected to all kinds of restraints and burdens in order to secure

the general comfort, health, and prosperity of the state.” Id. at 26.

       To be sure, a state’s power to legislate in this area has limits and is considered

unconstitutional if it “has no real or substantial relation to [the goal of protecting public health or

safety], or is, beyond all question, a plain, palpable invasion of rights secured by the fundamental

law.” Id. at 31. Here, the Director’s Stay at Home Order is clearly related to stemming the spread

of the virus. As discussed in Defendant’s Response, and this Court’s General Orders closing the

federal Courthouse to the public, COVID-19 is a highly infectious disease that spreads easily

amongst individuals. Social distancing measures have been implemented across the United States

to curb the spread of the disease. (See ECF No. 4 at 8-10).

       Even where the state enacts an order pursuant to its police powers to stem the spread of an

infectious disease, the constitution’s guarantees continue to operate as limits to action. See Pre-

Term Cleveland, v. Attorney General of Ohio, et al., 1:19-cv-00360, ECF No. 43 (S.D. Ohio March



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30, 2020) (granting in part TRO enjoining application of state order restricting non-essential

surgeries due to COVID-19 to abortion providers); On Fire Christian Ctr., Inc. v. Fischer, No.

3:20-CV-264-JRW, 2020 WL 1820249, at *6 (W.D. Ky. Apr. 11, 2020) (granting TRO enjoining

city from prohibiting drive-in church services due to COVD-19).

         Plaintiffs allege that their procedural due process rights were violated by Director of the

Department of Health’s Order closing all non-essential businesses since the Order deprives them

of their right to operate their business without a hearing at a meaningful time. To establish a

procedural due process claim, a plaintiff must show that: “(1) [s]he had a life, liberty, or property

interest protected by the Due Process Clause; (2) [s]he was deprived of this protected interest; and

(3) the state did not afford [her] adequate procedural rights prior to depriving him of the property

interest.” Women's Med. Prof'l Corp. v. Baird, 438 F.3d 595, 611 (6th Cir. 2006).

         Usually, due process requires that a hearing be conducted before a deprivation of a property

or liberty interest occurs. A post-deprivation hearing is sufficient, however, when “a government

official reasonably believed that immediate action was necessary to eliminate an emergency

situation.”3 United Pet Supply, Inc. v. City of Chattanooga, Tenn., 768 F.3d 464, 485–86 (6th Cir.

2014). A hearing is not required at all, however, in those circumstances where the State has issued

a generally applicable law or order. See Neinast v. Bd. of Trustees of Columbus Metro. Library,

346 F.3d 585, 596–97 (6th Cir. 2003) (“Governmental determinations of a general nature that

affect all equally do not give rise to a due process right to be heard.”).

         A plaintiff must first demonstrate that she possessed a protected property or liberty interest

and was deprived of that interest before the Court considers whether the process provided to the

plaintiff in conjunction with the deprivation, or lack thereof, violated her rights to due process.


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 Plaintiffs do not challenge that a pre-deprivation hearing was not necessary, but rather, they claim they were
deprived of their due process rights because they did not receive a post-deprivation. (ECF No. 2 at 7).

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Wedgewood Ltd. P'ship I. v. Twp. of Liberty, Ohio, 456 F. Supp. 2d 904, 934 (S.D. Ohio 2006);

Hamilton v. Myers, 281 F.3d 520, 529 (6th Cir.2002); LRL Properties v. Portage Metro Hous.

Auth., 55 F.3d 1097, 1108 (6th Cir.1995) ( “[I]n a section 1983 due process claim for deprivation

of a property interest, a plaintiff first must show a protected property interest, and only after

satisfying this first requirement can a plaintiff prevail by showing that ‘such interest was abridged

without appropriate process.’ ”). Property interests protected by the due process clause must be

more than abstract desires for or attractions to a benefit. See Roth, 408 U.S. at 577, 92 S.Ct. 2701.

The due process clause protects only those interests to which one has a “legitimate claim of

entitlement.” Id. This has been defined to include “any significant property interests ... including

statutory entitlements.” Brotherton v. Cleveland, 923 F.2d 477, 480 (6th Cir.1991) (internal

citations and quotation marks omitted). Property interests are not created by the Fourteenth

Amendment, rather they are created and defined by independent sources, such as state law. See id.

at 480 (quoting Roth, 408 U.S. at 577, 92 S.Ct. at 2709). State supreme court decisions are

controlling authority for such determinations. See id.; Hamilton v. Myers, 281 F.3d 520, 529 (6th

Cir.2002).

       Here, Plaintiffs argue that they have a constitutional right to operate the physical aspect of

their business and that the Government’s order classifying select businesses as essential without

providing a redress mechanism violated their right to due process. Defendants do not contest the

general proposition that individuals have a property interest in continuing to operate their

businesses, but instead claim that this right is not and has never been absolute. (ECF No. 4 at 28-

29). According to defendants, the right to operate a business is, as a matter of course, subject to an

extensive regulatory framework which includes rules requiring businesses to abide by Health

Department statutes. (Id. at 29.) The Sixth Circuit has determined that “due process protects an



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interest in the continued operation of an existing business” but also recognized that this was not

an “unfettered freedom” and was still subject to a state’s regulatory framework. Women's Med.

Prof'l Corp. v. Baird, 438 F.3d 595, 611-12 (6th Cir. 2006). Here, too, the Plaintiffs do have a

constitutional right to continue to operate their business. The orders regarding closure of

businesses were only recently put in place and Gilded Social has been operating a physical store

in the state since at least 2018. Thus, just as in those cases where the Sixth Circuit determined that

an existing permit or license holder has a property interest that a new applicant would not, so too

do Plaintiffs have a right to continue to operate their existing business in the manner they had

operated it prior to the Director’s Order. Id. at 611 (citing Wojcik v. City of Romulus, 257 F.3d

600, 609–10 (6th Cir.2001)).

       A person adversely affected by a law of general applicability has no due process right to a

hearing since the law’s generality “provides a safeguard that is a substitute for procedural

protections.” Indiana Land Co., LLC v. City of Greenwood, 378 F.3d 705, 710 (7th Cir. 2004).

The Supreme Court of the United States has long observed that the rights of an individual affected

by a law of general applicability “are protected in the only way that they can be in a complex

society, by [the affected individual’s] power, immediate or remote, over those who make the rule.”

Bi-Metallic Inv. Co. v. State Bd. of Equalization, 239 U.S. 441, 445 (1915); see also Logan v.

Zimmerman Brush Co., 455 U.S. 422, 433 (1982) (noting that an individual’s due process rights

are not violated by a law of general applicability since “the legislative determination provides all

the process that is due.”). The Supreme Court has determined that this exception to due process

applies even to agency action—so long as the agency’s actions are prescriptive or legislative as

opposed to adjudicative. See United States v. Florida East Coast Ry., 410 U.S. 224 (1973)

(determining that no due process right to hearing was triggered by agency action where it was



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applicable “across the board all common carriers” and “no effort was made to single out any

particular railroad for special consideration based on its own peculiar circumstances.”). The fact

that an agency’s order “may in its effects have been thought more disadvantageous by some . . .

than by others does not change its generalized nature.” Id. at 246.

        The State’s Order directing non-essential businesses to cease operating their physical

locations did not violate Plaintiffs’ due process rights because the Director’s Order was a generally

applicable order affecting thousands of businesses, and not a decision targeting an individual or

single business. See Smith v. Jefferson Cty. Bd. of Sch. Comm'rs, 641 F.3d 197, 216 (6th Cir. 2011)

(noting that “the legislative process provides all the process that is constitutionally due when a

plaintiff's alleged injury results from a legislative act of general applicability”) (internal quotation

marks omitted); Neinast v. Bd. of Trustees of Columbus Metro. Library, 346 F.3d 585, 596–97 (6th

Cir. 2003) (determining that rule requiring patrons to wear shoes established by director of library

was rule of general applicability and thus did not “give rise to a due process right to be heard.”).

In Smith, the Sixth Circuit determined that a county school board of commissioners did not violate

the due process rights of teachers who worked at an alternative school that the board decided to

close, because the “the Board was acting in a legislative capacity when it abolished the alternative

school.” 641 F.3d at 216. Importantly, the Sixth Circuit rejected “formalistic distinctions between

‘legislative’ and ‘adjudicatory’ or ‘administrative’ government actions” noting that a rule of

general applicability is properly considered legislative based on nature of the order. Id.

        Moreover, Plaintiffs do not contest, and in fact argue that the Director’s Order is legislative

in nature. (ECF No. 2 at 13). Plaintiffs’ reason for making this claim is to argue that as a legislative

act, it constituted an impermissible delegation of authority. (Id.) As indicated above in Section III

(B), however, the propriety of the General Assembly’s delegation of authority to the Director (and



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whether that delegation is an impermissible legislative delegation) to establish rules relating to

quarantine, isolation, and the preservation of life is a matter of state law. The fact that this Court

is precluded from determining the delegation issue pursuant to the Ohio constitution, does not

prevent this court from determining that whether legislative or administrative, Dr. Acton’s order

was of “general applicability” and thus did not violate Plaintiffs’ due process rights pursuant to

the United States Constitution. Neinast, 346 F.3d 585, 596–97 (6th Cir. 2003). In Neinast, the

Sixth Circuit considered a comparable situation where Plaintiff brought a § 1983 claim against the

Board of Trustees of a Columbus library regarding a rule promulgated by the Director of the

Library requiring patrons to wear shoes. The Sixth Circuit determined the Director’s rule did not

implicate a right to be heard since it was a “governmental determination of a general nature that

affect[ed] all equally.” Id. The Sixth Circuit refused to determine whether the Board’s delegation

of authority to the Director to establish the rule was constitutional, since § 1983 “is thus limited to

deprivations of federal statutory and constitutional rights. It does not cover official conduct that

allegedly violates state law.” Id. at 597.

       Plaintiffs argue that they are entitled to a post-deprivation hearing, but the cases they cite

to for support all relate to instances where the deprivation was targeted to a particular individual,

business, and/or fundamental right, and not instances where the government enacted a generally

applicable rule. See Krimstock v. Kelly, 464 F.3d 246 (2d Cir. 2006) (owners of vehicles seized by

city as “instrumentalities of a crime” were entitled to hearing to challenge validity seizure); United

States v. James Daniel Good Real Prop., 510 U.S. 43 (1993) (property owner who pled guilty to

drug charges was entitled to hearing after his home was seized subject to civil forfeiture); State v.

Hochhausler, 1996-Ohio-374, 76 Ohio St. 3d 455, 463, 668 N.E.2d 457 (driver’s right to due

process was not violated when his license was suspended pursuant to administrative license



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suspension procedure); FDIC v. Mallen, 486 U.S. 230 (1988) (bank official’s suspension from

position following indictment did not violate due process where official received hearing, even

though hearing was delayed 90 days); Zinermon v. Burch, 494 U.S. 113 (1990) (patient’s right to

due process violated where he was “voluntarily” admitted to mental health treatment facility while

heavily medicated and staff took no steps to determine whether the was mentally competent to

sign admission forms); Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 547 (1985) (terminated

school district employee entitled to pre-termination opportunity to respond); Barry v. Barchi, 443

U.S. 55, 99 S. Ct. 2642, 61 L. Ed. 2d 365 (1979) (summary suspension of horse-racer’s license

violated his right to due process where he was not assured a timely post-suspension hearing);

Johnson v. Morales, 946 F.3d 911 (6th Cir. 2020) (restaurant owner whose business license was

suspended stated claim for violation of procedural due process based on government’s failure to

provide pre-deprivation hearing). Here, no enforcement action was taken to single Plaintiffs out or

deprive them of an individually held entitlement due to alleged wrongdoing. Instead, the Director

set out a widely applicable Order intended to shut down the physical operations of all non-essential

businesses.

       Plaintiffs also cite to cases where courts have issued injunctions or TROs to prevent the

closure of abortion clinics or to prevent prohibition of drive-thru church services for alleged health

and safety justifications. This Court finds the comparison to such cases inapposite. Those cases

implicated a fundamental right, subject to a higher standard of review than rational basis review,

and singled out abortion clinics and church services for closure. Courts found the irreparable harm

of denying access to a constitutionally protected and time-sensitive medical procedure was strong

and outweighed the minimal burden on the state to provide pre-deprivation hearings. See Planned

Parenthood Southwest Ohio Region v. Hodges, 138 F. Supp. 3d 948, 957 (S.D. Ohio 2015) (issuing



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a preliminary injunction and finding plaintiffs’ interest in the continued operation of abortion

clinics outweighed the burden on the state in providing a pre-deprivation hearing); Women’s Med.

Prof. Corp. v. Baird, 438 F.3d 595, 614 (6th Cir. 2006) (“[t]he state has not argued that granting a

pre-deprivation opportunity to be heard would impose any burden or that any public policy reason

existed for shutting down the clinic's operations simultaneously with the denial of the license, and

WMPC's interest in continuing to operate its business is strong”). More recently, states could not

demonstrate any alleged health benefit to singling out closure of abortion clinics that would

outweigh the burden on a fundamental right. See Pre-term Cleveland v. Attorney Gen. of Ohio No.

1:19-cv-00360, slip op. at 2-3 (S.D. Ohio Mar. 30, 2020) (affirmed by the Sixth Circuit Court of

Appeals in Case No. 20-3365, Doc. 23-1) (“Defendants have not demonstrated to the Court, at this

point, that Plaintiffs’ performance of these surgical procedures will result in any beneficial amount

of net saving of PPE in Ohio such that the net saving of PPE outweighs the harm of eliminating

abortion”). Similarly in On Fire Christian Ctr, the Court found that while the State had a

compelling interest in stemming the spread of disease, it did not even come close to narrowly

tailoring its efforts to advance that interest where they prohibited drive-thru religious services but

not “a multitude of other non-religious drive-ins and drive-throughs.” 2020 WL 1820249, at *6

(W.D. Ky. Apr. 11, 2020) (granting TRO enjoining city from prohibiting drive-in church services

due to COVD-19).

       During the hearing, Plaintiffs also cited this Court’s prior opinion in Wedgewood Ltd.

P'ship I. v. Twp. of Liberty, Ohio, 456 F. Supp. 2d 904 (S.D. Ohio 2006) to support their argument

that the state’s order is administrative and not legislative, and that as an administrative act the

Order is subject to procedural due process. As indicated above, both the Supreme Court and the

Sixth Circuit have confirmed that administrative orders can qualify as legislative acts of general



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applicability, so long as they are not adjudicative. See e.g., United States v. Florida East Coast

Ry., 410 U.S. 224 (1973). Furthermore, in Wedgewood, this Court determined that defendants’

actions were adjudicative and not legislative in nature. 456 F. Supp. 2d 935. This Court specifically

noted that the Wedgewood defendants’ actions were targeted toward plaintiff since the instructions

that the Wedgewood defendants issued specifically referred to plaintiff’s controversy with the

township regarding the building of a Wal-Mart; the instructions were issued in response to and

only after plaintiff filed a variance application; and ultimately, the instructions were a thinly veiled

attempt to thwart plaintiff’s attempts to build a Wal-Mart. Id. at 935–36. None of those factors

exists here, where the Order applies generally to all non-essential businesses, does not refer to any

specific business as non-essential, nor specifically targets a non-essential business in any way.

       Accordingly, because the Director’s order applied to all non-essential businesses and was

not a decision targeting Plaintiff’s business individually, Plaintiff’s constitutional right to

procedural due process was not violated. See Bi–Metallic Investment Co. v. State Bd. of

Equalization, 239 U.S. 441, 445 (1915) (noting even though an individual’s property rights may

be affected by legislative action, “[w]here a rule of conduct applies to more than a few people, it

is impracticable that everyone should have a voice in its adoption”); Pickney Bros., Inc. v.

Robinson, 1999 WL 801514, at *4 (6th Cir. Sept. 30, 1999) (“Governmental determinations of a

general nature that affect all equally do not give rise to a due process right to be heard. But, when

a relatively small number of persons are affected on individual grounds, the right to a hearing is

triggered.”).




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                                      c.        Equal Protection Claim

         Plaintiffs did not brief this issue, but suggested during the hearing that since the Director’s

Order provides a limited redress mechanism it violates the equal protection clause since it permits

some, but not all, businesses a hearing. Plaintiffs argued that the limited redress mechanism’s

effect was that only larger businesses or companies would be permitted to challenge their

classification since smaller businesses only operate in one county and a hearing is only granted if

two counties disagree as to whether a particular business is not essential. The Government’s

response to this argument was that its Order provides a limited hearing mechanism, which would

resolve disputes between counties about how this Order should be construed and applied. The State

argued that this dispute resolution commission is necessary to ensure that the Order is consistently

applied. The Government also argued that its reason for providing only a limited redress

mechanism is that it does not have the resources to provide a hearing to every single non-essential

business affected by the Director’s Order.

         The Supreme Court and the Sixth Circuit both recognize “[t]he power of the state to

provide for the general welfare of its people” and “authorizes it to prescribe all such regulations

as in its judgment will secure or tend to secure them against” harm. Liberty Coins, LLC v.

Goodman, 748 F.3d 682, 692 (6th Cir. 2014) (internal quotation marks omitted) (quoting Dent v.

West Virginia, 129 U.S. 114, 122, 9 S. Ct. 231, 32 L. Ed. 623 (1889)). The limited review

mechanism in the Director’s Order seeks to prevent harm by ensuring consistent application

throughout the state. Plaintiffs have not shown that the limited review mechanism implicates a

fundamental right4 or is limited based on some suspect classification (on the basis of race,



4
 Due process is a fundamental right where a property or liberty interest is infringed upon. Here, however, this Court
has already determined that no right to a pre or post deprivation hearing was triggered since the Director’s Order
was a rule of general applicability.

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gender, etc). See F.C.C. v. Beach Commc'ns, Inc., 508 U.S. 307, 313–14 (1993) (noting that

where the challenged government action does not implicate a fundamental right or suspect class

it “must be upheld against equal protection challenge if there is any reasonably conceivable state

of facts that could provide a rational basis for the classification.”) (internal citations omitted).

Accordingly, where a regulatory scheme neither implicates a fundamental right nor creates a

suspect classification, rational basis review applies.” Liberty Coins, 748 F.3d at 693.

        Under rational basis review, the State’s “legislative choice is not subject to courtroom

fact-finding and may be based on rational speculation unsupported by evidence or empirical

data” particularly where the “legislature must necessarily engage in a process of line-drawing.”

FCC, 508 U.S. at 315–16. In those instances:

        [d]efining the class of persons subject to a regulatory requirement—much like classifying
        governmental beneficiaries—inevitably requires that some persons who have an almost
        equally strong claim to favored treatment be placed on different sides of the line, and the
        fact [that] the line might have been drawn differently at some points is a matter for
        legislative, rather than judicial, consideration.”

Id. (internal quotation marks omitted). In this case, the challenged action is the provision of a

hearing mechanism for some but not all businesses. Because the government’s decision to

provide a limited redress mechanism to sort out inter-county disputes is not “line-drawing” on

the basis of a suspect class, its review mechanism must only be rationally related to a legitimate

government interest.

        Here, the Government’s goal was to make sure the Director’s Order is applied

consistently in order to stem the spread of the pandemic. In order to achieve that goal. the

Government empowered a commission to resolve conflict between counties. The Government’s

goal of achieving consistency is thus rationally related to the means applied to achieve that goal.

The state has limited resources to allocate to any review mechanism and they chose to allocate

their limited resources to providing hearings when counties disagreed as to how the Order should
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be applied. This review mechanism is rationally related to the Government’s interest in

consistent application of its Stay at Home Order. Accordingly, the rational basis review test is

satisfied, and the Government’s actions do not violate the equal protection clause.

                  4.      Harm to Others, Public Interest, Balance of Factors

       The final two factors—the balance of equities and the public interest—“merge when the

government opposes the issuance of a temporary restraining order because ‘the government’s

interest is the public interest.’” Fawzi Zaya, Petitioner, v. Rebecca Adducci, et al., Respondents.,

No. 20-10921, 2020 WL 1903172 (E.D. Mich. Apr. 18, 2020) (quoting Pursuing America’s

Greatness v. Fed. Election Comm’n, 831 F.3d 500, 512 (D.C. Cir. 2016)).

       These two factors also weigh in favor of denying Plaintiff’s motion for a temporary

restraining order. While the immediacy and irreparability of harm to Plaintiffs is speculative, the

harm to the public if the Director’s order is enjoined is potentially catastrophic. The World Health

Organization has declared COVID-19 to be a pandemic, and both the Governor of Ohio and the

President have declared a state of emergency due to the rapid and exponential spread of the virus.

(ECF No. 4 at 9-10). Furthermore, the mitigating measures in Director Acton’s Stay at Home Order

have helped to decrease the spread of the virus. As a result of aggressive mitigation efforts, Ohio

has fewer COVID-19 cases than neighboring states with comparable populations. Id. at 9. As

indicated in Defendant’s brief, COVID-19 is a new disease that results in hospitalization for

approximately 29% of those who contract the virus, and death in approximately 4% of confirmed

cases. Id. If the Director’s Order is enjoined, it is not merely livelihoods, but lives that would be

put at risk, and the State has an interest in public health and the safety of its citizens. See Neinast,

346 F.3d at 594 (6th Cir. 2003) (“Courts consistently have upheld statutes primarily directed at

preventing injury to an individual on the basis of the impact upon the general public.”); On Fire



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Christian Ctr., Inc. v. Fischer, No. 3:20-CV-264-JRW, 2020 WL 1820249, at *10 (W.D. Ky. Apr.

11, 2020) (“In considering whether a TRO is in the public interest, ‘a court must at the very least

weigh the potential injury to the public health when it considers enjoining state officers from

enforcing emergency public health laws.’) (internal citations omitted).

       Plaintiff has failed to demonstrate immediacy and irreparability of harm and likelihood of

success on the merits. Furthermore, enjoining the Director’s Order poses a risk to human life.

Accordingly, the balance of the factors counsels against injunctive relief.

                                      IV.     CONCLUSION

       For these reasons stated above, this Court DENIES Plaintiffs’ motion for a temporary

restraining order. (ECF No. 2).

       The Preliminary Injunction hearing will be held on Monday, May 11, 2020 at 10:00 a.m.

before the Honorable Algenon L. Marbley. The Court will provide further instructions closer to

the time of the hearing regarding whether the hearing will be held telephonically or electronically,

and the procedures that will be followed. The Court will not continue the hearing date except upon

written motion supported by an affidavit demonstrating exceptional circumstances, made

immediately upon the party’s or counsel’s receipt of notice of the existence of the exceptional

circumstances.

       Due to the nature of this case and the fact that the parties have addressed all of the

preliminary factors in their briefing, this Court has determined that no further briefing is

necessary for this hearing. Plaintiffs, however, are entitled to file a reply to Defendant’s

response. Plaintiff’s reply is due by April 30, 2020.




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       The Court shall handle all discovery disputes for the purposes of the Preliminary Injunction

briefing. The parties, or a party may move to consolidate the Preliminary Injunction hearing with

the trial on the merits. This motion should be brought prior to April 30, 2020.

       IT IS SO ORDERED.



                                             ALGENON L. MARBLEY
                                             CHIEF UNITED STATES DISTRICT JUDGE
DATE: April 21, 2020




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